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IN THE UNITED STATES DISTRICT COURT :s:.200 oo
FOR THE SOUTHERN DISTRICT NEW YOREVC SDI

CHARON COINS, LLC,

Plaintiff,
Vv. Civil Action No. 7:21-cv-2777 (VB)
SONEA GRIFFITHS,
Defendant.

 

 

ORDER
This matter having come before the Court on Plaintiff Charon Coins, LLC’s
(“Charon”), Letter Motion for Leave to Serve Subpoenas Duces Tecum on BMO Harris Bank,
N.A. and TD Bank, N.A., it is the opinion of this Court that the Motion should be
GRANTED, and it is hereby
ORDERED, that Charon may serve Subpoenas Duces Tecum on BMO Hartis Bank, N.A.
and TD Bank, N.A.

DONE and ORDERED this 28day of June, 2021,

wl Vr

HONORABLE VINCENT L. BRICCETTI
UNITED STATES DISTRICT JUDGE

 
